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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

    IN RE: MOVEIT CUSTOMER DATA
    SECURITY BREACH LITIGATION
    _____________________________________
                                                        MDL No. 1:23-md-03083-ADB-PGL
    This Document Relates To:

    All Cases



                                JOINT PROPOSAL REGARDING
                               BRIEFING OF THRESHOLD ISSUES

          Pursuant to this Court’s direction during the March 11, 2024 status hearing that the parties

provide a framework for briefing threshold issues in this matter, the undersigned Defendants 1 and

Plaintiffs Lead Counsel and Liaison and Coordinating Counsel, have met and conferred and hereby

submit the following proposal for briefing jurisdictional and other issues.

          The parties propose submitting three sets of threshold briefing related to (i) enforcement

of arbitration agreements and/or class action waivers; (ii) jurisdiction under the Class Action

Fairness Act (“CAFA”); and (iii) Article III standing. 2 These motions would be based on

Plaintiffs’ existing complaints—plus, as to the Article III standing motion, a set of designated

additional, common allegations upon which plaintiffs intend to rely in responding to any Article III

standing challenge. The parties believe that threshold briefing on the foregoing issues will allow


1
 Consistent with MDL Order No. 9 and Plaintiffs’ Leadership Team’s Communication Structure
Proposal (ECF 667), the counsel identified as Defendants’ Liaison Counsel represent solely their
own clients and do not speak for any other Defendants but have been authorized by the other
Defendants to sign this joint submission. Defendants’ Liaison Counsel are not aware of any
Defendants in this MDL objecting to the proposal described herein.
2
 All parties agree that Defendants explicitly reserve all rights to challenge personal jurisdiction,
and the contemplated motions and stages before personal jurisdiction briefing do not act to waive
any related rights.

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the Court to narrow the parties and issues pending in this MDL without requiring Plaintiffs to

exchange either fact sheets or consolidated amended complaints. 3

       First, consistent with the Court’s guidance during the March 11th hearing, the parties

propose that the Court set a date by which those individual Defendants who require further

biographical information to address whether they may have viable motions to enforce arbitration

agreements and/or class actions waivers confer with Plaintiffs on issues necessary to assess

whether those motions will be brought. Although some Defendants continue to assess whether

they will move to compel arbitration, the number currently considering is approximately ten (10). 4

Given this relatively low number, any conferral for those who need biographical information can

occur directly between Plaintiffs and counsel for the individual Defendant considering the motion.

       Plaintiffs are agreeable to providing the necessary limited information, subject to a

protective order. The parties propose the Court also set a date by which Plaintiffs will provide

such information to Defendants.       For this limited set of Defendants who need additional

biographical information only, this conferral shall also include a discussion of any such contractual

agreements themselves, in an effort to limit the disputes put before the Court for consideration.


3
  As stated at the hearing and as set forth in Defendants’ prior written submissions, Defendants
continue to believe that consolidated complaints would make the motions process more efficient
and easier to follow for the Court. Defendants also continue to believe that following resolution
of the jurisdictional issues identified in this submission, all defendants should be afforded the
opportunity to move to dismiss existing complaints (or, if Plaintiffs will agree, consolidated
complaints) on other grounds, including Rule 12(b)(6). Plaintiffs, for their part, continue to believe
that initially serving amended complaints as to six defendants would be the most effective and
efficient way to begin this litigation (and continue to believe that filing amended complaints as to
all 109 defendants right now is not efficient). As a compromise between these competing
positions, the parties are submitting the proposal set forth herein.
4
  Additional Defendants to those counted here continue to assess whether to seek to compel
arbitration or enforce class action waivers because, among other reasons, certain Defendants are
continuing to assess whether arbitration agreements or class action waivers exist, and others are
assessing whether they are third-party beneficiaries to the agreements between the end users and
Defendants that directly interacted with the end users.

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       The parties also propose the Court set a date, after limited biographic information has been

shared, by which any Defendant shall file a motion to compel arbitration against any Plaintiff in

an existing MDL complaint and/or move regarding the Court’s jurisdiction over any Plaintiff

subject to a class action waiver.

       Given the relatively low number of Defendants anticipated to join such a motion and

following the Court’s guidance at the March 11 hearing, these Defendants will endeavor to the

extent practicable to file a single, joint motion to enforce those contractual provisions, addressing

any unique Defendant issues as required, and attaching relevant declarations and exhibits for the

Court’s centralized review. See Ex. B, Trans. March 11 Hearing at 81:17-83:8. This would pertain

to both arguments to enforce arbitration agreements and class action waivers. This motion would

be based on the allegations in Plaintiffs’ existing complaints and Defendants’ understanding of the

contractual terms applicable to those Plaintiffs. Should a motion be filed, the parties reserve the

right to seek discovery on the arbitration/class waiver issue, if necessary.

       Second, with regard to any challenge of this Court’s jurisdiction under CAFA, the parties

again believe that a meet and confer process, with exchange of information (as necessary), may

avoid motion practice as to the few Defendants to whom CAFA may not apply (the number of

defendants currently considering is four (4)). The parties will work collaboratively in this regard.

However, they propose that, in the interim, the Court set a near-term date by which Defendants

shall move, if necessary, pursuant to Rule 12(b)(1) for a determination as to whether the Court has

jurisdiction under CAFA. This way, the parties will have a deadline by which any CAFA-related

dispute must be resolved informally before motion practice commences. If motion practice proves

necessary, the Defendants will endeavor to the extent practicable to file a single, joint motion




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addressing any unique Defendant issues as required and the parties reserve the right to seek

discovery on the issues underlying inquiries as to CAFA jurisdiction.

       Third, and as a final jurisdictional matter, the parties propose that the Defendants file a

single omnibus Rule 12(b)(1) motion to dismiss Plaintiffs who allegedly lack Article III standing.

This omnibus motion would be predicated on the allegations in the currently pending underlying

complaints plus a set of common factual allegations that Plaintiffs contend are relevant to the

standing analysis for all parties including, by way of example, information newly discovered on

CL0P’s website and the dark web. 5 It is Plaintiffs’ position that these common allegations will

pertain to all defendants and will facilitate a more streamlined briefing process for the parties and

decision process for the Court. These common factual allegations may also include allegations

regarding certain categories of Defendants, such as allegations regarding the types of information

compromised and/or the relationships between Progress and certain categories of Defendants (i.e.,

Direct Users, Vendors, and so forth, as proposed by Defendants).

       Defendants propose to present arguments grouped into approximately eight different

buckets of purported injuries pleaded in the existing complaints, as they typically are in data breach

cases, including the Taylor case recently considered by this Court. To address the Court’s

guidance and desire to find an efficient and categorical way to decide cross-cutting standing issues,

Defendants have attached as Exhibit A a chart that shows the eight buckets of injury around which

Defendants anticipate they will organize their briefing on the threshold issue of standing. 6

Exhibit A includes, at a high level, examples of named plaintiffs from four exemplar cases



5
 The parties will work out an appropriate procedural mechanism for making these additional facts
of record for purposes of the Article III standing motion.
6
 Defendants reserve the right to amend, adjust, narrow, reorganize, or add to these proposed
buckets of injury as necessary for purposes of effective and efficient briefing on standing.

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demonstrating the manner in which Defendants anticipate they would fill out this chart for all

named plaintiffs in the existing complaints.7

        Plaintiffs, for their part, do not agree that the standing question should be analyzed by

looking at each alleged harm, in isolation, and are concerned that framing the issue with a “chart

delimiting the categories of injury” might lead to a misapplication of the legal standard under

Article III, which Plaintiffs contend requires a more wholistic evaluation of injury, including all

facts which support a finding a certainly impending risk of future harm. Accordingly, while

Plaintiffs concede that Defendants are free to fashion their standing argument however they see

fit, Plaintiffs do not agree to Defendants’ proposed paradigm for analyzing the standing question

category by category of alleged harm, and reserve their right to challenge this analytical

framework, as well as the particular categories identified by Defendants, and will do so as part of

the briefing process. By agreeing to this process, Plaintiffs do not waive any procedural rights.

Specifically, Plaintiffs reserve the right to amend in due course.

        The foregoing approach to briefing Article III standing will allow the Court to efficiently

narrow the pending parties and claims (if narrowing is appropriate), and does not require Plaintiffs’

counsel to either prepare consolidated amended complaints or fact sheets summarizing their

clients’ allegations and claims. 8


7
  Defendants do not admit that any of the purported injuries identified in Exhibit A have been
plausibly alleged or otherwise satisfy the pleading standards required under Rule 8 of the Federal
Rules of Civil Procedure and reserve the right to move to dismiss any remaining allegations that
fail to meet these standards in a subsequent brief.
8
  The parties agree that opening formal discovery as to all parties now is inefficient. Defendants
propose formal discovery (including discovery as to Progress) should begin after the rulings on
the above-described motions and any subsequent Rule 12(b)(6) motions. Plaintiffs propose that
formal discovery as to Progress should begin immediately. It is Progress’s position that if formal
discovery begins now as to any party, it must be reciprocal and begin as to all Plaintiffs.
Notwithstanding the above, counsel for Progress and Plaintiffs have begun good-faith discussions


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DATED this 5th day of April, 2024.             Respectfully submitted,

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regarding a Stipulated Protective Order and ESI Stipulation, Plaintiffs’ draft discovery requests,
and the plan for Plaintiffs to respond to discovery.

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9
 Consistent with MDL Order No. 9 and Plaintiffs’ Leadership Team’s Communication Structure
Proposal (ECF 667), the counsel identified as Defendants’ Liaison Counsel represent solely their
own clients and do not speak for any other Defendants, but have been authorized by the other
Defendants to sign this joint submission.

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.



Dated: April 5, 2024                                 /s/ Allison M. Holt Ryan
                                                     Allison M. Holt Ryan




                                LOCAL RULE 7.1 CERTIFICATION

       The parties have diligently met and conferred and have attempted in good faith to

resolve or narrow the issues presented in this joint submission.



Dated: April 5, 2024                                 /s/ Allison M. Holt Ryan
                                                     Allison M. Holt Ryan




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